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                             Deposition of:
                    Donald V. Dudley , Sr.
                           November 6, 2020


                            In the Matter of:

           Smith, Maggie et al. v. District of
                     Columbia




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1                A      Yes.

2                Q      And what is that?

3                A      An individual that has been previously

4          arrested, was rearrested with a firearm on their

5          persons.

6                Q      You said that one of the databases that

7          the MPD uses is AFIS or the automated --

8                A      Automated fingerprint identification

9          system.

10               Q      Thank you.     Do you know, what I'm trying

11         to get at here is how does an officer know whether

12         an arrestee is a prior felon in order to click on

13         this data?     Do you know that?

14                      MR. SAINDON:     Objection.     Outside the

15         scope of the topics.        You can answer, Mr. Dudley, if

16         you know.

17               A      Yes.   So any individual that is arrested

18         is fingerprinted through the AFIS system.             Those

19         fingerprints are sent to the FBI.           The FBI verifies

20         or invalidates those fingerprints for the purposes

21         of identifying that individual.

22                      The, any past record is attached to those




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1          every subject has a PDID number and they could have

2          an FBI number.

3                       MR. CLAIBORNE:      What column is the PDID

4          number?

5                       THE WITNESS:     I have no idea.

6          BY MR. BORDEN:

7                Q      We went through -- there was a state ID?

8                A      Yeah.   That would be synonymous.         State ID

9          and PDID number are the same.

10                      MR. CLAIBORNE:      Okay.    So then, I don't

11         mean to get ahead, so I guess it's the SID, isn't

12         that what's linked to the AFIS report?

13                      THE WITNESS:     Yes.    So AFIS database has

14         the PDID number as well as the FBI number if it's

15         applicable.

16                      MR. CLAIBORNE:      So the FBI number comes

17         back with the AFIS data?

18                      THE WITNESS:     Correct.

19                      MR. CLAIBORNE:      I see.    Okay.   Thank you

20         very much.

21                      THE WITNESS:     Yes, sir.

22




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1          appears to be a yes/no column.              Do you know what

2          that is?

3                 A      So the rap sheets are in the FBI system,

4          so if the technician selected yes or no on the user

5          interface at AFIS, it would pull, as long as the

6          defined criteria is met, it will return a rap sheet

7          for that individual.

8                 Q      And is a rap sheet a criminal history, is

9          it fair to describe it as a criminal history?

10                A      Exactly.

11                Q      And just looking at the data here, you'll

12         see I'm looking at the filters here.                If I click on

13         the choice of yes, so yes, rap sheet was requested,

14         in the bottom left corner, so we have a total of

15         2,131 records in this production.               2,070 of those

16         indicate that yes, a rap sheet was requested.                 Do

17         you see that there?

18                A      Let's see.      Can you move that?         Bottom

19         left corner.       I don't see it.        I don't see the

20         number.

21                Q      That's all right.         It may be --

22                A      Oh, there it is.        Yeah.     Yeah.    2,070 of




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1                      MR. SAINDON:      Sure.    Absolutely.

2                      MR. BORDEN:      Okay.    We will go off the

3          record.    Thank you.

4                             (Recessed at 1:11 p.m.)

5                          (Reconvened at 1:15 p.m.)

6          BY MR. BORDEN:

7                Q     All right.     We can go back on the record.

8                      All right, Mr. Dudley, just a couple of

9          follow-up questions here.         One of the things we've

10         talked about is that criminal history checks are

11         checked through AFIS.

12                     Do you know of any other source, one I'm

13         aware of is called Wales.         W-A-L-E-S.     Do you know

14         what that is?

15               A     Yes.

16               Q     And what is that?

17               A     The WALES acronym stands for Washington

18         Area Law Enforcement System.          That is, that's the

19         system actually when AFIS checks the, for the rap

20         sheet, that system populates the rap sheet in a form

21         that's called, the acronym is called CCH,

22         computerized criminal history.




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1          who's already been convicted of a felony and now

2          they're arrested in possession of a gun.             Somebody

3          has to look up to see whether they're a felon in

4          possession, right, see if the person has a felony

5          arrest history?

6                      THE WITNESS:      Yes.    That information would

7          be included on the rap sheet, CCH rap sheet.

8                      MR. CLAIBORNE:       What about if --

9          BY MR. BORDEN:

10                 Q   So are you saying, Mr. Dudley, all that

11         criminal history is just laying there in the WALES

12         database, right, so I don't necessarily have to

13         record it somewhere else, I can query it at any

14         point and find out what someone's criminal history

15         is; is that right?

16                 A   Exactly.

17                 Q   So if we gave you a list of people and

18         their arrest numbers and PDIDs and say hey, can you

19         give me a criminal history on those, you could do

20         that?

21                 A   Yes.

22                     MR. SAINDON:      Not necessarily.       Objection.




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1          There are ownership issues involved with the FBI and

2          everything.     So...

3                      MR. BORDEN:      Understood.     I guess I was

4          asking is it technically possible.

5                      MR. CLAIBORNE:       Well, does FBI have

6          ownership issues of the data in WALES?            I thought

7          you said it was an MPD database.

8                      THE WITNESS:      The CCH segment is owned and

9          operated by MPD.        What is in NCIC and triple y, the

10         FBI owns that, owns that system, they own the data

11         and information as well.         Even if it's for --

12                     MR. CLAIBORNE:       Well, how about this?        Can

13         you -- when you search through the WALES system, can

14         you only do one query, one individual at a time?

15                     THE WITNESS:      Yes.    You cannot do -- from

16         the user interface you can only perform a single

17         query.

18                     MR. CLAIBORNE:       Well, how about accessing

19         the data some other way?         Like, for example, the

20         spreadsheets you gave us, maybe the user cannot

21         access the data the way that the database

22         administrator can, but the database administrator




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